       Case 1:14-cr-00154-JLT-SKO Document 256 Filed 06/27/17 Page 1 of 1



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 3
                              UNITED STATES DISTRICT COURT
 4
                                EASTERN DISTRICT OF CALIFORNIA
 5

 6    UNITED STATES OF AMERICA,                        CASE NO. 1:14-CR-00154-LJO-SKO
 7                            Plaintiff-
                              Respondent,
 8                                                     ORDER REFERRING CASE TO FEDERAL
             v.                                        DEFENDER’S OFFICE
 9
      ALEX MENDOZA
10
                              Defendant-               ECF No. 253
11                            Petitioner.
12

13          On June 1, 2017, Defendant-Petitioner Alex Mendoza (“Defendant”) filed a pro se motion to
14   reduce his sentence pursuant to Title 18, United States Code, Section 3582(c)(2) (“§ 3582”) and
15   Amendment 782. ECF No. 253. Pursuant to Eastern District of California General Order 546, the
16   Court now appoints the Federal Defender’s Office (“FDO”) to represent Defendant this matter. From
17   the filing date of this order, the FDO SHALL have 30 days to notify the Court whether it intends to
18   file a supplement to Defendant’s § 3582 motion, or, whether it does not intend to file a supplement.
19   The Clerk of Court is DIRECTED to add the FDO’s Panel Administrator, Connie Garcia
20   (Connie_Garcia@fd.org), to the service list prior to docketing of this Order.
21
     IT IS SO ORDERED.
22

23      Dated:     June 26, 2017                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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